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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 JENNER & BLOCK LLP,

                    Plaintiff,

                        v.                               Civil Action No. 1:25-cv-916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

                   Defendants.



                                 DEFENDANTS’ STATUS REPORT

       Pursuant to this Court’s Order (ECF No. 139, “Order”) and in follow up to the Defendants’

motion to clarify and status report filed on May 29, 2025 (ECF No. 141), Defendants hereby submit

this status report certifying compliance with the Order and setting forth the following steps taken

to ensure compliance with the Order. Defendants Department of Justice, Office of Management

and Budget, and, in their official capacities, Attorney General Pam Bondi and OMB Director

Russell Vought, circulated the attached notice to the entities subject to Executive Order 14246. The

notice included a copy of the Order and the appendix located at ECF No. 139-1. The notice also

included the specific directions required by Section (9) of the Court’s Order.

 Dated: June 6, 2025                         Respectfully submitted,
        Washington, D.C.

                                             /s/ Richard Lawson
                                             RICHARD LAWSON
                                             Deputy Associate Attorney General
                                             950 Pennsylvania Avenue, NW
                                             Washington, DC 20530
                                             Counsel for Defendants
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              EXHIBIT 1
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To: Entities subject to Executive Order 14246

From: Attorney General Pamela Bondi and Director of the Office of Management and Budget
Russel Vought

Date: June 6, 2025

Subject: Permanent Injunction entered against Executive Order 14246, “Addressing Risks from
Jenner and Block, LLP.”




On March 25, 2025, President Donald J. Trump signed Executive Order 14246, “Addressing
Risks from Jenner and Block,” 90 Fed. Reg. 13997 (Mar. 25, 2025). On May 23, 2025, U.S.
District Court Judge John D. Bates permanently enjoined the Executive Branch of the U.S.
Government from implementing Executive Order 14246 and ordered the Attorney General and
the Director of the Office of Management and Budget to provide you with a copy of the court’s
order (attached hereto).

The position of the Executive Branch is that issuance of Executive Order 14246 was lawful and
implementing its directives permissible, and the United States Department of Justice is reviewing
all potential avenues of appeal of the Court’s order. Until such time as the court’s erroneous order
is overturned, it is important that all government agencies comply with the terms of the court’s
order as any failure to do so may result in penalty of contempt.

Specifically, the Court has ordered us to direct you to:

   a. rescind any implementation or enforcement of Executive Order 14246, including any use,
      consideration, or reliance on the statements in Section 1 of Executive Order 14246;

   b. rescind all formal or informal guidance or other direction provided to officers, staff,
      employees, or contractors to communicate, effectuate, implement, or enforce Executive
      Order 14246 in whole or in part;

   c. disregard Executive Order 14246 in its entirety in their dealings with Jenner & Block
      LLP, Jenner & Block LLP personnel, and clients known or believed by them to be
      associated with Jenner & Block LLP, and carry on with their ordinary course of business
      as if Executive Order 14246 had not issued;

   d. immediately communicate to every recipient of a formal or informal request for
      disclosure of any relationship with Jenner & Block LLP or any person associated with the
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       firm made pursuant to Executive Order 14246 that such request is permanently rescinded,
       and cease making such requests for disclosure pursuant to Executive Order 14246;

   e. cease any security clearance review made or initiated pursuant to Sections 1 or 2(a) of
      Executive Order 14246 and reverse any suspension or revocation of any active security
      clearances made pursuant to Sections 1 or 2(a) of Executive Order 14246;

   f. act in good faith to take such other steps as are necessary to prevent the implementation
      or enforcement of Executive Order 14246 and to reverse any implementation or
      enforcement of Executive Order 14246 that has occurred or is occurring;

   g. comply with all forms of relief in this Order; and

   h. be advised that all defendants and all departments, agencies, and other entities subject to
      Executive Order 14246, including their respective officers, staff, employees and
      contractors, are bound by the Court’s Order, under penalty of contempt.



Please note that while subsection (a) above compels the recission of any “use, consideration, or
reliance on the statements in Section 1 of Executive Order 14246” the court has clarified that this
provision is retroactive only. Specifically, Section (1) of the court’s order states that only
Sections 2-5 of the Executive Order have been enjoined. The court has explained that subsection
(a) only “requires the rescission of past uses of Section 1.” Order on Motion to Clarify, Jenner
and Block, LLP v. U.S. Department of Justice, et al., No. 25-cv-916 (D.D.C.), Dkt. No. 143, p. 2
(emphasis in original). The court has clarified that it has refrained “from enjoining future
‘consider[ation]’ of the statements in Section 1 ‘for any purpose.’” Id. (emphasis in original). In
other words, in a free country, if an agency believes Section 1 to be correct, it can say so.
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  JENNER & BLOCK LLP,

          Plaintiff,
             v.                                            Civil Action No. 25-916 (JDB)
  U.S. DEPARTMENT OF JUSTICE, et al.,

          Defendants.



                                            ORDER

        Upon consideration of [19] Jenner & Block’s motion for summary judgment, [20] the

defendants’ motion to dismiss, and the entire record herein, and for the reasons set forth in the

memorandum opinion issued on this date, it is hereby

        ORDERED that [19] Jenner’s motion for summary judgment is GRANTED; it is further

        ORDERED that [20] the defendants’ motion to dismiss is DENIED; it is further

        DECLARED that Executive Order 14246, Addressing Risks from Jenner & Block, 90 Fed.

Reg. 13997 (Mar. 28, 2025), is unlawful because it violates the First Amendment to the United

States Constitution; it is further

        DECLARED that Executive Order 14246 is therefore null and void; it is further

        ORDERED that:

    (1) the defendants are permanently ENJOINED from implementing or enforcing Sections 2–

        5 of Executive Order 14246 in any way;

    (2) the defendants are DIRECTED to rescind all formal or informal guidance or other

        direction provided to officers, staff, employees, or contractors of the federal government

        to communicate, effectuate, implement, or enforce Executive Order 14246;


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(3) the defendants are DIRECTED immediately to notify all officers, staff, employees, and

   contractors subject to Executive Order 14246 that Executive Order 14246 is unlawful, null,

   and void, and that Executive Order 14246 therefore should be disregarded, including all

   prior formal or informal advice, opinions, or direction previously received or

   communicated to effectuate, implement, or enforce Executive Order 14246, and that all

   departments, agencies, officers, staff, employees, and contractors of the federal

   government should carry on with their ordinary course of business with Jenner & Block

   LLP, its personnel, its clients, and its clients’ personnel known or believed by them to be

   associated with Jenner & Block LLP, as if Executive Order 14246 had not issued;

(4) the defendants are DIRECTED immediately to (a) communicate to every recipient of a

   formal or informal request for disclosure of any relationship with Jenner & Block LLP or

   any person associated with Jenner & Block LLP made pursuant to Section 3(a) of Executive

   Order 14246 that such request is permanently rescinded; and (b) cease making such

   requests for disclosure pursuant to Section 3(a) of Executive Order 14246;

(5) the defendants are DIRECTED to cease any security clearance review made pursuant to

   Sections 1 or 2(a) of Executive Order 14246 and to reverse any suspension or revocation

   of any active security clearances made pursuant to Sections 1 or 2(a) of Executive Order

   14246;

(6) the defendants are ORDERED that they must, in good faith, take such other steps as are

   necessary to prevent the implementation of Executive Order 14246 and to reverse any

   implementation or enforcement of Executive Order 14246 that has occurred or is occurring;

(7) defendants Office of Management and Budget (“OMB”) and Russell Vought, in his official

   capacity as director of OMB, are DIRECTED to identify all government goods, property,



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   material, and services provided for the benefit of Jenner & Block LLP that were previously

   identified pursuant to Section 2(b) of Executive Order 14246 and to immediately issue

   direction to the relevant heads of agencies that they are to reverse any cessation of the

   provision of such material or services made pursuant to Executive Order 14246;

(8) defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

   Attorney General; Equal Employment Opportunity Commission (“EEOC”); and Andrea R.

   Lucas, in her official capacity as Acting Chair of the EEOC, are DIRECTED immediately

   to cease any investigation of Jenner & Block LLP made pursuant to Section 4 of Executive

   Order 14246, and to withdraw any requests for information from Jenner & Block LLP or

   other investigative steps made pursuant to Section 4 of Executive Order 14246;

(9) defendants U.S. Department of Justice; Pamela Bondi, in her official capacity as U.S.

   Attorney General; OMB; and Russell Vought, in his official capacity as Director of OMB,

   are DIRECTED immediately to issue direction, which shall include a copy of this Order,

   to all defendants and all departments, agencies, and other entities subject to Executive

   Order 14246, including their respective officers, staff, employees, and contractors, to:

       a. rescind any implementation or enforcement of Executive Order 14246, including

          any use, consideration, or reliance on the statements in Section 1 of Executive Order

          14246;

       b. rescind all formal or informal guidance or other direction provided to officers, staff,

          employees, or contractors to communicate, effectuate, implement, or enforce

          Executive Order 14246 in whole or in part;

       c. disregard Executive Order 14246 in its entirety in their dealings with Jenner &

          Block LLP, Jenner & Block LLP personnel, and clients known or believed by them



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               to be associated with Jenner & Block LLP, and carry on with their ordinary course

               of business as if Executive Order 14246 had not issued;

           d. immediately communicate to every recipient of a formal or informal request for

               disclosure of any relationship with Jenner & Block LLP or any person associated

               with the firm made pursuant to Executive Order 14246 that such request is

               permanently rescinded, and cease making such requests for disclosure pursuant to

               Executive Order 14246;

           e. cease any security clearance review made or initiated pursuant to Sections 1 or 2(a)

               of Executive Order 14246 and reverse any suspension or revocation of any active

               security clearances made pursuant to Sections 1 or 2(a) of Executive Order 14246;

           f. act in good faith to take such other steps as are necessary to prevent the

               implementation or enforcement of Executive Order 14246 and to reverse any

               implementation or enforcement of Executive Order 14246 that has occurred or is

               occurring;

           g. comply with all forms of relief in this Order; and

           h. be advised that all defendants and all departments, agencies, and other entities

               subject to Executive Order 14246, including their respective officers, staff,

               employees and contractors, are bound by the Court’s Order, under penalty of

               contempt.

For the avoidance of doubt, the recipients of the foregoing direction shall include, but not be

limited to (i) defendants; (ii) the departments, agencies, and other entities listed in Appendix A

hereto, including the responsible officials and their successors at each entity, also listed in

Appendix A; (iii) any other departments, agencies, and entities that received Executive Order



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14246 or guidance related to Executive Order 14246; and (iv) any officers, staff, employees, and

contractors of any of the foregoing who were provided with Executive Order 14246 or guidance

related to Executive Order 14246; and it is further

       ORDERED that the defendants shall file a status report within three business days of this

Order describing the steps taken to ensure compliance with this Order and certifying compliance

with its requirements; and it is further

       ORDERED that this Order shall remain in effect until further order of this Court.

       IT IS SO ORDERED.



                                                                        /s/
                                                                 JOHN D. BATES
                                                             United States District Judge
Dated: May 23, 2025




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                                    APPENDIX A

    Administration for Children and Families
        o Assistant Secretary of Health and Human Services for Children and Families
        o Deputy Assistant Secretaries of Health and Human Services for Children and
           Families
    Administration for Strategic Preparedness and Response
        o Assistant Secretary for Preparedness and Response
        o Principal Deputy Assistant Secretary for Preparedness and Response
    Administrative Conference of the United States
        o Chairman of the Administrative Conference of the United States
        o Council Members of the Administrative Conference of the United States
    Advisory Council on Historic Preservation
        o Chairman of the Advisory Council on Historic Preservation
        o Members of the Advisory Council on Historic Preservation
    American National Red Cross
        o Chairman of the Board of the American National Red Cross
        o President and Chief Executive Officer of the American National Red Cross
    AmeriCorps
        o Agency Head of AmeriCorps
        o Chair of the Board of Directors of AmeriCorps
    Appalachian Regional Commission
        o Federal Co-Chair of the Appalachian Regional Commission
        o Executive Director of the Appalachian Regional Commission
    Bonneville Power Administration
        o Administrator and Chief Executive Officer of the Bonneville Power
           Administration
        o Chief Operating Officer of the Bonneville Power Administration
    Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
        o Deputy Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives
    Bureau of the Census
        o Director of the Bureau of the Census
        o Deputy Director of the Bureau of the Census
    Bureau of Consumer Financial Protection
        o Director of the Bureau of Consumer Financial Protection
        o Deputy Director of the Bureau of Consumer Financial Protection
    Bureau of Economic Analysis
        o Director of the Bureau of Economic Analysis
        o Deputy Director of the Bureau of Economic Analysis
    Bureau of Indian Affairs
        o Assistant Secretary for Indian Affairs
        o Director of the Bureau of Indian Affairs
    Bureau of Industry and Security
        o Under Secretary of Commerce for Industry and Security
        o Deputy Under Secretary of Commerce for Industry and Security


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    Bureau of International Labor Affairs
        o Deputy Undersecretary of Labor for International Affairs
        o Associate Deputy Undersecretaries of Labor for International Affairs
    Bureau of Land Management
        o Director of the Bureau of Land Management
        o Deputy Director of the Bureau of Land Management
    Bureau of Ocean Energy Management
        o Director of the Bureau of Ocean Energy Management
        o Deputy Director of the Bureau of Ocean Energy Management
    Bureau of Reclamation
        o Commissioner of the Bureau of Reclamation
        o Deputy Commissioners of the Bureau of Reclamation
    Bureau of Safety and Environmental Enforcement
        o Director of the Bureau of Safety and Environmental Enforcement
        o Deputy Director of the Bureau of Safety and Environmental Enforcement
    Centers for Disease Control and Prevention
        o Director of the Centers for Disease Control and Prevention
        o Principal Deputy Director of the Centers for Disease Control and Prevention
    Centers for Medicare & Medicaid Services
        o Administrator of the Centers for Medicare & Medicaid Services
        o Deputy Administrator of the Centers for Medicare & Medicaid Services
    Central Intelligence Agency
        o Director of the Central Intelligence Agency
        o Deputy Director of the Central Intelligence Agency
    CHIPS Research and Development Office
        o Director of the CHIPS Research and Development Office
        o Deputy Director of the CHIPS Research and Development Office
    Commission of Fine Arts
        o Chair of the Commission of Fine Arts
        o Members of the Commission of Fine Arts
    Committee on Foreign Investment in the United States
        o Chairperson of the Committee on Foreign Investment in the United States
        o Members of the Committee on Foreign Investment in the United States
    Commodity Futures Trading Commission
        o Chairman of the Commodity Futures Trading Commission
        o Commissioners of the Commodity Futures Trading Commission
    Consumer Product Safety Commission
        o Chairman of the Consumer Product Safety Commission
        o Commissioners of the Consumer Product Safety Commission
    Corporation for National and Community Service
        o Chair of the Corporation for National and Community Service
        o Vice Chair of the Corporation for National and Community Service
    Council of the Inspectors General on Integrity and Efficiency
        o Executive Chair of the Council of the Inspectors General on Integrity and
            Efficiency
        o Chair of the Council of the Inspectors General on Integrity and Efficiency


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    Council on Environmental Quality
        o Chair of the Council on Environmental Quality
        o Members of the Council on Environmental Quality
    Court Services and Offender Supervision Agency for the District of Columbia
        o Director of the Court Services and Offender Supervision Agency for the District
            of Columbia
        o Associate Director of the Court Services and Offender Supervision Agency for
            the District of Columbia
    Defense Contract Audit Agency
        o Director of the Defense Contract Audit Agency
        o Deputy Director of the Defense Contract Audit Agency
    Defense Contract Management Agency
        o Director of the Defense Contract Management Agency
        o Deputy Director of the Defense Contract Management Agency
    Defense Intelligence Agency
        o Director of the Defense Intelligence Agency
        o Deputy Director of the Defense Intelligence Agency
    Defense Logistics Agency
        o Director of the Defense Logistics Agency
        o Vice Director of the Defense Logistics Agency
    Denali Commission
        o Federal Co-Chair of the Denali Commission
        o Commissioners of the Denali Commission
    Department of the Air Force
        o Secretary of the Air Force
        o Under Secretary of the Air Force
    Department of the Army
        o Secretary of the Army
        o Under Secretary of the Army
    Department of Commerce
        o Secretary of Commerce
        o Deputy Secretary of Commerce
    Department of Defense
        o Secretary of Defense
        o Deputy Secretary of Defense
    Department of Education
        o Secretary of Education
        o Deputy Secretary of Education
    Department of Energy
        o Secretary of Energy
        o Deputy Secretary of Energy
    Department of Health and Human Services
        o Secretary of Health and Human Services
        o Deputy Secretary of Health and Human Services




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    Department of Homeland Security
        o Secretary of Homeland Security
        o Deputy Secretary of Homeland Security
    Department of Housing and Urban Development
        o Secretary of Housing and Urban Development
        o Deputy Secretary of Housing and Urban Development
    Department of the Interior
        o Secretary of the Interior
        o Deputy Secretary of the Interior
    Department of Justice
        o Attorney General
        o Deputy Attorney General
    Department of Labor
        o Secretary of Labor
        o Deputy Secretary of Labor
    Department of the Navy
        o Secretary of the Navy
        o Under Secretary of the Navy
    Department of State
        o Secretary of State
        o Deputy Secretary of State
    Department of Toxic Substance Controls
        o Director of the Department of Toxic Substance Controls
        o Chief Deputy Director of the Department of Toxic Substance Controls
    Department of Transportation
        o Secretary of Transportation
        o Deputy Secretary of Transportation
    Department of the Treasury
        o Secretary of the Treasury
        o Deputy Secretary of the Treasury
    Department of Veterans Affairs
        o Secretary of Veterans Affairs
        o Deputy Secretary of Veterans Affairs
    Directorate of Defense Trade Controls
        o Deputy Assistant Secretary of the Directorate of Defense Trade Controls
        o Director of Compliance of the Office of Defense Trade Controls Compliance
        o Director of Licensing of the Office of Defense Trade Controls Licensing
        o Director of Management of the Office of Defense Trade Controls Management
        o Director of the Office of Defense Trade Controls Policy
    Drug Enforcement Administration
        o Administrator of the Drug Enforcement Administration
        o Deputy Administrator of the Drug Enforcement Administration
    Environmental Protection Agency
        o Administrator of the Environmental Protection Agency
        o Deputy Administrator of the Environmental Protection Agency



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    Equal Employment Opportunity Commission
        o Chair of the Equal Employment Opportunity Commission
        o Commissioners of the Equal Employment Opportunity Commission
    Executive Office of the President
        o White House Chief of Staff
        o White House Deputy Chief of Staff
    Executive Office for U.S. Trustees
        o Director of the U.S. Trustee Program
        o Principal Deputy Director of the U.S. Trustee Program
    Export-Import Bank of the United States
        o President and Chairman of the Export-Import Bank of the United States
        o First Vice President and Vice Chairman of the Export-Import Bank of the United
            States
    Farm Credit System Insurance Corporation
        o Chairman of the Board of the Farm Credit System Insurance Corporation
        o Members of the Board of the Farm Credit System Insurance Corporation
    Federal Aviation Administration
        o Administrator of the Federal Aviation Administration
        o Deputy Administrator of the Federal Aviation Administration
    Federal Bureau of Investigation
        o Director of the Federal Bureau of Investigation
        o Deputy Director of the Federal Bureau of Investigation
    Federal Bureau of Prisons
        o Director of the Federal Bureau of Prisons
        o Deputy Director of the Federal Bureau of Prisons
    Federal Communications Commission
        o Chairman of the Federal Communications Commission
        o Commissioners of the Federal Communications Commission
    Federal Deposit Insurance Corporation
        o Chairman of the Federal Deposit Insurance Corporation
        o Board Members of the Federal Deposit Insurance Corporation
    Federal Election Commission
        o Chair of the Federal Election Commission
        o Commissioners of the Federal Election Commission
    Federal Emergency Management Agency
        o Administrator of the Federal Emergency Management Agency
        o Deputy Administrator of the Federal Emergency Management Agency
    Federal Energy Regulatory Commission
        o Chairman of the Federal Energy Regulatory Commission
        o Commissioners of the Federal Energy Regulatory Commission
    Federal Highway Administration
        o Administrator of the Federal Highway Administration
        o Deputy Administrator of the Federal Highway Administration




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    Federal Home Loan Mortgage Corporation (Freddie Mac)
        o Chairman of the Federal Home Loan Mortgage Corporation
        o President and Chief Executive Officer of the Federal Home Loan Mortgage
            Corporation
    Federal Housing Finance Agency
        o Director of the Federal Housing Finance Agency
        o Deputy Directors of the Federal Housing Finance Agency
    Federal Labor Relations Authority
        o Chair of the Federal Labor Relations Authority
        o Board Members of the Federal Labor Relations Authority
    Federal Maritime Commission
        o Chairman of the Federal Maritime Commission
        o Commissioners of the Federal Maritime Commission
    Federal Mediation and Conciliation Service
        o Director of the Federal Mediation and Conciliation Service
        o Chief Operating Officer of the Federal Mediation and Conciliation Service
    Federal Mine Safety and Health Review Commission
        o Chair of the Federal Mine Safety and Health Review Commission
        o Commissioners of the Federal Mine Safety and Health Review Commission
    Federal National Mortgage Association (Fannie Mae)
        o Chairman of the Federal National Mortgage Association
        o President and Chief Executive Officer of the Federal National Mortgage
            Association
    Federal Permitting Improvement Steering Council
        o Executive Director of the Federal Permitting Improvement Steering Council
        o Deputy Executive Director of the Federal Permitting Improvement Steering
            Council
    Federal Railroad Administration
        o Administrator of the Federal Railroad Administration
        o Deputy Administrator of the Federal Railroad Administration
    Federal Reserve System
        o Chair of the Board of Governors of the Federal Reserve System
        o Governors of the Federal Reserve System
    Federal Retirement Thrift Investment Board
        o Chair of the Federal Retirement Thrift Investment Board
        o Executive Director of the Federal Retirement Thrift Investment Board
    Federal Trade Commission
        o Chairman of the Federal Trade Commission
        o Commissioners of the Federal Trade Commission
    Federal Transit Administration
        o Administrator of the Federal Transit Administration
        o Deputy Administrator of the Federal Transit Administration
    Financial Crimes Enforcement Network
        o Director of the Financial Crimes Enforcement Network
        o Deputy Director of the Financial Crimes Enforcement Network



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    Food and Drug Administration
         o Commissioner of Food and Drugs
         o Principal Deputy Commissioner of Food and Drugs
    General Services Administration
         o Administrator of the General Services Administration
         o Deputy Administrator of the General Services Administration
    Government Accountability Office
         o Comptroller General of the United States
         o Deputy Comptroller General of the United States
    Grid Deployment Office
         o Under Secretary of Energy for Infrastructure
         o Director of the Grid Deployment Office
         o Deputy Director for Grid Modernization of the Grid Deployment Office
         o Deputy Director for Resource Adequacy of the Grid Deployment Office
    Gulf Coast Ecosystem Restoration (RESTORE) Council
         o Chair of the Gulf Coast Ecosystem Restoration (RESTORE) Council
         o Members of the Gulf Coast Ecosystem Restoration (RESTORE) Council
    Health Resources and Services Administration
         o Administrator of the Health Resources and Services Administration
         o Deputy Administrator of the Health Resources and Services Administration
    Institute of Museums and Library Services
         o Director of the Institute of Museums and Library Services
         o Deputy Directors of the Institute of Museums and Library Services
    Inter-American Foundation
         o President and Chief Executive Officer of the Inter-American Foundation
         o Managing Director of the Inter-American Foundation
    Interior Business Center
         o Director of the Interior Business Center
         o Deputy Director of the Interior Business Center
    Internal Revenue Service
         o Commissioner of Internal Revenue
         o Deputy Commissioner of Internal Revenue
    International Trade Administration
         o Under Secretary of Commerce for International Trade
         o Deputy Under Secretary of Commerce for International Trade
    John F. Kennedy Memorial Center for the Performing Arts
         o Chairman of the Board of the John F. Kennedy Memorial Center for the
             Performing Arts
         o Executive Director of the John F. Kennedy Memorial Center for the Performing
             Arts
    Joint Chiefs of Staff
         o Chairman of the Joint Chiefs of Staff
         o Vice Chairman of the Joint Chiefs of Staff
    Loan Programs Office
         o Director of the Loan Programs Office
         o Deputy Director of the Loan Programs Office


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    Marine Mammal Commission
        o Chair of the Marine Mammal Commission
        o Commissioners of the Marine Mammal Commission
    Millennium Challenge Corporation
        o Chair of the Board of Directors of the Millennium Challenge Corporation
        o Chief Executive Officer of the Millennium Challenge Corporation
    National Aeronautics and Space Administration
        o Administrator of the National Aeronautics and Space Administration
        o Associate Administrator of the National Aeronautics and Space Administration
    National Archives and Records Administration
        o Archivist of the United States
        o Deputy Archivist of the United States
    National Board for Respiratory Care
        o President of the National Board for Respiratory Care
        o Vice President of the National Board for Respiratory Care
    National Capital Planning Commission
        o Chair of the National Capital Planning Commission
        o Executive Director of the National Capital Planning Commission
    National Council on Disability
        o Chair of the National Council on Disability
        o Vice Chair of the National Council on Disability
    National Counterterrorism Center
        o Director of the National Counterterrorism Center
        o Deputy Director of the National Counterterrorism Center
    National Endowment for the Arts
        o Chair of the National Endowment for the Arts
        o Senior Deputy Chair of the National Endowment for the Arts
    National Endowment for the Humanities
        o Council Chair of the National Endowment for the Humanities
        o Council Members of the National Endowment for the Humanities
    National Geospatial-Intelligence Agency
        o Director of the National Geospatial-Intelligence Agency
        o Deputy Director of the National Geospatial-Intelligence Agency
    National Indian Gaming Commission
        o Chairwoman of the National Indian Gaming Commission
        o Vice-Chair of the National Indian Gaming Commission
    National Institutes of Health
        o Director of the National Institutes of Health
        o Principal Deputy Director of the National Institutes of Health
    National Highway Traffic Safety Administration
        o Administrator of the National Highway Traffic Safety Administration
        o Deputy Administrator of the National Highway Traffic Safety Administration
    National Labor Relations Board
        o Chairman of the National Labor Relations Board
        o Members of the National Labor Relations Board



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    National Marine Fisheries Service
        o Assistant Administrator for Fisheries
        o Deputy Assistant Administrator for Fisheries
    National Mediation Board
        o Chair of the National Mediation Board
        o Members of the National Mediation Board
    National Nuclear Security Administration
        o Under Secretary of Energy for Nuclear Security and Administrator of the National
            Nuclear Security Administration
        o Principal Deputy Administrator of the National Nuclear Security Administration
    National Oceanic and Atmospheric Administration
        o Under Secretary of Commerce for Oceans and Atmosphere
        o Administrator of the National Oceanic and Atmospheric Administration
    National Park Service
        o Director of the National Park Service
        o Deputy Director of the National Park Service
    National Renewable Energy Laboratory
        o Director of the National Renewable Energy Laboratory
        o Deputy Director of the National Renewable Energy Laboratory
    National Science Foundation
        o Director of the National Science Foundation
        o Deputy Director of the National Science Foundation
    National Security Agency
        o Director of the National Security Agency
        o Deputy Director of the National Security Agency
    National Security Council
        o Vice President of the United States
        o Members of the National Security Council
    National Transportation Safety Board
        o Chair of the National Transportation Safety Board
        o Members of the National Transportation Safety Board
    Nuclear Regulatory Commission
        o Chair of the Nuclear Regulatory Commission
        o Commissioners of the Nuclear Regulatory Commission
    Occupational Safety and Health Administration
        o Assistant Secretary of Labor for Occupational Safety and Health
        o Deputy Assistant Secretaries of Labor for Occupational Safety and Health
    Occupational Safety and Health Review Commission
        o Chair of the Occupational Safety and Health Review Commission
        o Commissioners of the Occupational Safety and Health Review Commission
    Office of Clean Energy Demonstrations
        o Director of the Office of Clean Energy Demonstrations
        o Deputy Director of the Office of Clean Energy Demonstrations
    Office of the Comptroller of the Currency
        o Comptroller of the Currency
        o Senior Deputy Comptrollers of the Currency


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   Office of the Director of National Intelligence
       o Director of National Intelligence
       o Principal Deputy Director of National Intelligence
   Office of Federal Contract Compliance Programs
       o Director of the Office of Federal Contract Compliance Programs
       o Deputy Director of the Office of Federal Contract Compliance Programs
   Office of Foreign Assets Control
       o Director of the Office of Foreign Assets Control
       o Deputy Director of the Office of Foreign Assets Control
   Office of Government Ethics
       o Director of the Office of Government Ethics
       o Deputy Director for Compliance of the Office of Government Ethics
   Office of Homeland Security Situational Awareness
       o Director of the Office of Homeland Security Situational Awareness
       o Deputy Director of the Office of Homeland Security Situational Awareness
   Office of Management and Budget
       o Director of the Office of Management and Budget
       o Deputy Director of the Office of Management and Budget
   Office of National Drug Control Policy
       o Director of the Office of National Drug Control Policy
       o Deputy Director of the Office of National Drug Control Policy
   Office of Personnel Management
       o Director of the Office of Personnel Management
       o Deputy Director of the Office of Personnel Management
   Office of Science and Technology Policy
       o Director of the Office of Science and Technology Policy
       o Deputy Director of the Office of Science and Technology Policy
   Office of the Secretary of Defense
       o Secretary of Defense
       o Deputy Secretary of Defense
   Office of Special Counsel
       o Special Counsel
       o Principal Deputy Special Counsel
   Offices of the United States Attorneys
       o Director of the Executive Office for U.S. Attorneys
       o Deputy Director of the Executive Office for U.S. Attorneys
   Office of the United States Trade Representative
       o United States Trade Representative
       o Deputy United States Trade Representative
   Overseas Private Investment Corporation
       o President and Chief Executive Officer of the Overseas Private Investment
           Corporation
       o Executive Vice President of the Overseas Private Investment Corporation
   Patent Trial and Appeal Board
       o Director of the Patent Trial and Appeal Board
       o Deputy Director of the Patent Trial and Appeal Board


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   Peace Corps
        o Chief Executive Officer of the Peace Corps
        o Deputy Chief Executive Officer of the Peace Corps
   Pension Benefit Guaranty Corporation
        o Director of the Pension Benefit Guaranty Corporation
        o Deputy Director of the Pension Benefit Guaranty Corporation
   Permitting Council
        o Executive Director of the Permitting Council
        o Deputy Executive Director of the Permitting Council
   Presidio Trust
        o Chair of the Board of the Presidio Trust
        o Vice-Chair of the Board of the Presidio Trust
   Pretrial Services Agency for the District of Columbia
        o Director of the Pretrial Services Agency for the District of Columbia
        o Deputy Director of the Pretrial Services Agency for the District of Columbia
   Public Defender Service for the District of Columbia
        o Director of the Public Defender Service for the District of Columbia
        o Deputy Director of the Public Defender Service for the District of Columbia
   Rural Utilities Service
        o Administrator of the Rural Utilities Service
        o Assistant Administrator of the Rural Utilities Service
   Science and Technology Directorate
        o Under Secretary of Homeland Security for Science and Technology
        o Deputy Under Secretary of Homeland Security for Science and Technology
   Securities and Exchange Commission
        o Chairman of the Securities and Exchange Commission
        o Commissioners of the Securities and Exchange Commission
   Selective Service System
        o Director of the Selective Service System
        o Deputy Director of the Selective Service System
   Small Business Administration
        o Administrator of the Small Business Administration
        o Deputy Administrator of the Small Business Administration
   Smithsonian Institution
        o Secretary of the Smithsonian
        o Deputy Secretary and Chief Operation Officer of the Smithsonian
   Social Security Administration
        o Commissioner of the Social Security Administration
        o Deputy Commissioner of the Social Security Administration
   Surface Transportation Board
        o Chairman of the Surface Transportation Board
        o Members of the Surface Transportation Board
   Tennessee Valley Authority
        o Chair of the Board of the Tennessee Valley Authority
        o Members of the Board of the Tennessee Valley Authority



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   Trademark Trial and Appeal Board
       o Director of the Trademark Trial and Appeal Board
       o Deputy Director of the Trademark Trial and Appeal Board
   Transportation Security Administration
       o Administrator of the Transportation Security Administration
       o Deputy Administrator of the Transportation Security Administration
   U.S. Access Board
       o Chair of the U.S. Access Board
       o Members of the U.S. Access Board
   U.S. Agency for International Development
       o Administrator of the U.S. Agency for International Development
       o Deputy Administrators of the U.S. Agency for International Development
   U.S. Agency for Global Media
       o Chief Executive Officer of the U.S. Agency for Global Media
       o Chairman of the Board of the U.S. Agency for Global Media
   U.S. Army Corps of Engineers
       o Chief of Engineers and Commanding General of the U.S. Army Corps of
           Engineers
       o Deputy Commanding General of the U.S. Army Corps of Engineers
   U.S. Capitol Police
       o Chief of the U.S. Capitol Police
       o Assistant Chiefs of the U.S. Capitol Police
   U.S. Chemical Safety Board
       o Chairperson of the U.S. Chemical Safety Board
       o Members of the U.S. Chemical Safety Board
   U.S. Citizenship and Immigration Services
       o Director of U.S. Citizenship and Immigration Services
       o Deputy Director of U.S. Citizenship and Immigration Services
   U.S. Coast Guard
       o Commandant of the U.S. Coast Guard
       o Vice Commandant of the U.S. Coast Guard
   U.S. Commission on Civil Rights
       o Chairperson of the U.S. Commission on Civil Rights
       o Commissioners of the U.S. Commission on Civil Rights
   U.S. Commission for the Preservation of America’s Heritage Abroad
       o Chair of the U.S. Commission for the Preservation of America’s Heritage Abroad
       o Members of the U.S. Commission for the Preservation of America’s Heritage
           Abroad
   U.S. Copyright Office
       o Register of Copyrights and Director of the U.S. Copyright Office
       o Associate Register of Copyrights
   U.S. Court of Appeals for Veterans Claims
       o Chief Judge of the U.S. Court of Appeals for Veterans Claims
       o Judges of the U.S. Court of Appeals for Veterans Claims




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   U.S. Customs and Border Protection
       o Commissioner of U.S. Customs and Border Protection
       o Deputy Commissioner of U.S. Customs and Border Protection
   U.S. Department of Agriculture
       o Secretary of Agriculture
       o Deputy Secretary of Agriculture
   U.S. Department of Agriculture Rural Development
       o Under Secretary of Agriculture for Rural Development
       o Deputy Under Secretary of Agriculture for Rural Development
   U.S. Election Assistance Commission
       o Chairman of the U.S. Election Assistance Commission
       o Executive Director of the U.S. Election Assistance Commission
   U.S. Fish & Wildlife Service
       o Director of the U.S. Fish & Wildlife Service
       o Principal Deputy Director of the U.S. Fish & Wildlife Service
   U.S. Forest Service
       o Forest Service Chief
       o Associate Forest Service Chief
   U.S. Holocaust Memorial Museum
       o Director of the U.S. Holocaust Memorial Museum
       o Deputy Director of the U.S. Holocaust Memorial Museum
   U.S. Immigration and Customs Enforcement
       o Director of U.S. Immigration and Customs Enforcement
       o Deputy Director of U.S. Immigration and Customs Enforcement
   U.S. International Trade Commission
       o Chair of the U.S. International Trade Commission
       o Commissioners of the U.S. International Trade Commission
   U.S. Marshals Service
       o Director of the U.S. Marshals Service
       o Deputy Director of the U.S. Marshals Service
   U.S. Marine Corps
       o Commandant of the U.S. Marine Corps
       o Assistant Commandant of the U.S. Marine Corps
   U.S. Merit Systems Protection Board
       o Chairman of the U.S. Merit Systems Protection Board
       o Members of the U.S. Merit Systems Protection Board
   U.S. Nuclear Waste Technical Review Board
       o Chair of the U.S. Nuclear Waste Technical Review Board
       o Members of the U.S. Nuclear Waste Technical Review Board
   U.S. Patent & Trademark Office
       o Director of the U.S. Patent & Trademark Office
       o Deputy Director of the U.S. Patent & Trademark Office
   U.S. Postal Inspection Service
       o Chief Postal Inspector
       o Deputy Chief Postal Inspector



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   U.S. Postal Service
       o Postmaster General
       o Deputy Postmaster General
   U.S. Privacy and Civil Liberties Oversight Board
       o Chair of the U.S. Privacy and Civil Liberties Oversight Board
       o Members of the U.S. Privacy and Civil Liberties Oversight Board
   U.S. Railroad Retirement Board
       o Chairman of the U.S. Railroad Retirement Board
       o Members of the U.S. Railroad Retirement Board
   U.S. Secret Service
       o Director of the U.S. Secret Service
       o Deputy Director of the U.S. Secret Service
   U.S. Space Force
       o Secretary of the Air Force
       o Under Secretary of the Air Force
   U.S. Trade and Development Agency
       o Director of the U.S. Trade and Development Agency
       o Director of Policy and Program Management of the U.S. Trade and Development
           Agency
   Woodrow Wilson International Center for Scholars
       o Chairman of the Board of Trustees of the Woodrow Wilson International Center
           for Scholars
       o Members of the Board of Trustees of the Woodrow Wilson International Center
           for Scholars




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